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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 YAACOV APELBAUM and XRVISION,
 LTD.,                                            Case No. 2:23-cv-11718

                     Plaintiffs,                  HONORABLE STEPHEN J. MURPHY, III

 v.

 STEPHANIE LYNN LAMBERT, et al.,

                     Defendants.
                                          /

       ORDER GRANTING MOTION FOR ALTERNATE SERVICE [6]

      Plaintiffs Yaacov Apelbaum and XRVision sued Defendants Stefanie Lambert,

The Law Office of Stefanie L. Lambert, and Bill Bachenberg for libel, slander, breach

of contract, tortious interference, promissory estoppel, and unjust enrichment claims.

ECF 1. Despite countless attempts to serve the complaint on Defendants Lambert

and The Law Office at multiple locations, Plaintiffs have been unable to do so. ECF

6. The Court will therefore permit alternate service on those Defendants for the

following reasons.

      First, Plaintiffs exhausted the federal and State procedures for serving

Defendant Lambert in her personal capacity. An individual may be served by

“following [S]tate law for serving a summons in an action brought in courts of general

jurisdiction in the [S]tate where the district court is located or where service is made”

or by “leaving a copy of [the summons and complaint] at the individual’s dwelling or

usual place of abode with someone of suitable age and discretion who resides there.”



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Fed. R. Civ. P. 4(e)(1), 4(e)(2)(B). Plaintiffs unsuccessfully attempted the latter.

Plaintiffs explained that Defendant Lambert’s home address “is unclear” and that

she “has gone by at least four known names.” ECF 6, PgID 41 (alterations omitted).

Plaintiffs identified four possible home residences and attempted service several

times at each address. Id. at 41–43.

       Alternatively, an individual may be served “by delivering [copies of the

summons and complaint] to an agent authorized by appointment or by law to receive

service of process.” Fed. R. Civ. P. (4)(e)(2)(C). Plaintiffs asked attorney Michael J.

Smith—who represents Defendant Bachenberg and who was believed to represent

the other two Defendants—if he would accept service on Defendant Lambert’s behalf,

but Mr. Smith declined. ECF 6, PgID 44. It appears that Plaintiffs “exhausted

attempt[s] to serve Defendant Lambert through normal means[] and have legitimate

reason to believe that Defendant Lambert knows of this lawsuit and yet has evaded

service.” Id.

       Next, Plaintiffs exhausted the federal and State procedures for serving

Defendant The Law Office. Defendant Lambert is the registered agent for The Law

Office. ECF 6-3, PgID 57. Professional limited liability companies may be served by

“following [S]tate law” or “by delivering a copy of the summons and of the complaint

to an officer, a managing or general agent, or any other agent authorized by

appointment or by law to receive service of process and—if the agent is one authorized

by statute and the statute so requires—by also mailing a copy of each to the

defendant.” Fed. R. Civ. P. 4(h)(1)(B); see also Mich. Ct. R. 2.105(C) (permitting



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service on limited partnerships by serving copies of the summons and complaint on

“the person in charge of a partnership office” and by sending the same to “a general

partner or agent for service of process at his or her usual residence or last known

address”). Plaintiffs attempted service at the address registered to Defendant The

Law Office, but a security guard informed the process server that Defendant

Lambert’s “name had been removed from the building’s registry some time ago.” ECF

6, PgID 43.

       “On a showing that service of process cannot reasonably be made as provided

by this rule, the court may by order permit service of process to be made in any other

manner reasonably calculated to give the defendant actual notice of the proceedings

and an opportunity to be heard.” Mich. Ct. R. 2.105(J)(1). Although Defendant

Lambert’s address is unclear due to her various names and possible residences, the

Court will permit service by the following method: (1) leaving copies of the summons,

complaint, and this order with an adult at each of the four addresses associated with

Defendant Lambert; (2) mailing copies of the summons, complaint and this order to

each of the four locations; and (3) mailing copies of the summons, complaint, and this

order to attorney Michael J. Smith. The Court believes that these three actions are

“reasonably calculated to give [Defendant Lambert] actual notice of the proceedings.”

Mich. Ct. R. 2.105(J)(1).

      WHEREFORE, it is hereby ORDERED that Plaintiffs’ motion for alternate

service [6] is GRANTED.




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      IT IS FURTHER ORDERED that Plaintiffs must SERVE Defendants

Stefanie L. Lambert and The Law Office of Stefanie L. Lambert as described above

no later than January 5, 2024.

      IT IS FURTHER ORDERED that Plaintiffs must FILE proof that service

was made in accordance with this Order.

      SO ORDERED.

                                     s/ Stephen J. Murphy, III
                                     STEPHEN J. MURPHY, III
                                     United States District Judge
Dated: December 12, 2023




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